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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE QEAUGZQ
WESTERN DIVISION

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ELLIPSIS. INC., F.";'D:T,'f-;

Plaintiff,
vs. No. 03-2939-Bv
THE coLoR woRKs, INc.,

Defendants.

 

THE COLOR WORKS, INC-,
Third-Party Plaintiff

v.

MARY ELIZABETH WADE,

a/k/a Elizabeth Wade,
Individually,

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Third-Party Defendant

 

ORDER GRANTING IN PART AND DENYING IN PART DEFENDANT'S EMERGENCY
MOTION FOR PROTECTIVE ORDER/MOTION FOR CLARIFICATION
and
ORDER AMENDING ORDER OF AUGUST 11, 2005 DENYING PLAINTIFF’S AND
THIRD-PARTY DEFENDANT’S MTOIN TO EXTEND THE RULE l€(b) SCHEDULING
ORDER

 

Before the court is the August 18, 2005 emergency motion of
the defendant, The Color Works, Inc. (“TCW”), pursuant to Federal
Rule of Civil Procedure 26(c), for a protective order imposing
conditions on discovery. This motion has been referred to the

United States Magistrate Judge for determination. A hearing was

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held on Friday, August 19, 2005. Present at the hearing were Ken
Shuttleworth and Ashley Baskette, attorneys for the plaintiff,
Ellipsis, Inc., and for third-party defendant Mary Elizabeth Wade,
a/k/a Elizabeth Wade, and Danny van Horn, attorney for the
defendant, The Color Works, Inc. Participating by phone was James
G Sammataro, attorney for the defendant, The Color Works, Inc.

For the reasons stated at the hearing, the motion is granted
in part and denied in part as follows:

1. The depositions of TCW's representatives are to be taken
in Greensboro, North Carolina.

2. The discovery deadline is extended to September 30, 2005.
only for the purposes of taking depositions.l The court's previous
order of August ll, 2005 is amended accordingly. All other
deadlines in the scheduling order remain the samo.

3. TCW's request for an order compelling Ellipsis and Wade to
reimburse TCW for expenses incurred as a result of the cancellation
by Ellipsis and Wade of the previously scheduled depositions of
TCW’s representatives is denied as moot. The parties announced
that they have reached a tentative agreement on this issue.

IT IS SO ORDERED this 22nd day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

1 As a result of this ruling, Ellipsis and Wade's counsel

announced in open court that they withdraw the appeal of the
court's order of August ll, 2005.

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 169 in
case 2:03-CV-02939 Was distributed by faX, mail, or direct printing on

August 22, 2005 to the parties listed.

 

Ashley Yarnell Baskette

SHUTTLEWORTH WILLIAMS, PLLC

200 .1 efferson Ave.
Ste. 1500
1\/lemphis7 TN 38103--002

.1 ames G. Sammataro
AKERMAN SENTERFITT
1 S.E. Third Ave.

28th 11.

1\/liami7 FL 33131

Megan J. Knight
AKERMAN SENTERFITT
1 S.E. Third Ave.

28th Floor

1\/liami7 FL 33131--171

Merrick L. Gross
AKERMAN SENTERFITT
1 S.E. Third Ave.

28th Floor

1\/liami7 FL 33131--171

Kenneth R. Shuttleworth

SHUTTLEWORTH WILLIAMS HARPER WARING & DERRICK

200 .1 efferson Ave.
Ste. 1500
1\/lemphis7 TN 38103--630

Daniel Warren Van Horn

ARMS TRONG ALLEN, PLLC

80 Monroe Avenue
Ste. 700
1\/lemphis7 TN 3 8103--246

Honorable .1. Breen
US DISTRICT COURT

